Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 1 of 15 Page ID
                                 #:1273


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     Television, a division of Twentieth Century
 8   Fox Film Corporation, and Fox Broadcasting
     Company
 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
                                     WESTERN DIVISION
12

13
     TWENTIETH CENTURY FOX                     Case No. 2:15-cv-02158 PA(FFMx)
14   TELEVISION, a division of
     TWENTIETH CENTURY FOX FILM                    DECLARATION OF ANDREW
15   CORPORATION, a Delaware company,              ROSS IN SUPPORT OF FOX’S
     et al.                                        MOTION FOR SUMMARY
16                                                 JUDGMENT
                       Plaintiffs,
17
           v.                                  Judge: Hon. Percy Anderson
18
     EMPIRE DISTRIBUTION, INC., a              Hearing Date: February 1, 2016
19   California corporation,                   Time: 1:30 p.m.
                                               Place: Courtroom 15
20                     Defendant.
21   And related counterclaims
22

23

24

25

26

27
28
                                                            ROSS DECL. ISO MOTION FOR
                                                                  SUMMARY JUDGMENT
                                                                 2:15-CV-02158 PA(FFMX)
Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 2 of 15 Page ID
                                 #:1274


 1         I, Andrew Ross, the undersigned, hereby declare:
 2         1.     I am Senior Vice President, Business and Legal Affairs, at Columbia
 3   Records, a division of Sony Music Entertainment. I submit this declaration in
 4   support of Twentieth Century Fox Television, a division of Twentieth Century Fox
 5   Film Corporation, and Fox Broadcasting Company’s (collectively, “Fox”) Motion
 6   for Summary Judgment. I have personal knowledge of the facts set forth herein
 7   and, if called to testify, could and would testify competently thereto.
 8         2.     With permission from Fox, Columbia Records acts as the record label
 9   for the Empire soundtrack music and distributes Empire’s original songs. In my
10   role at Columbia Records, I work with Fox on the licensing, release, and marketing
11   of the Empire soundtrack music.
12         3.     The week each episode of Empire is broadcast, Columbia Records
13   releases and distributes digital extended plays of the music from that episode
14   (“Episode EPs”). For the first season, approximately ninety percent of the digital
15   streaming and sales of the Episode EPs occurred in the four days following the
16   episode’s broadcast.
17         4.     At the conclusion of Empire’s first season, Columbia Records also
18   released and distributed an album containing select original songs appearing across
19   Empire’s first season (“Season One Soundtrack”). The Season One Soundtrack
20   debuted at number one on the Billboard 200 chart in the United States for the week
21   of March 28, 2015. The Billboard 200 chart for the week of March 28, 2015 is
22   attached hereto as Exhibit 1. The Season One Soundtrack is released and
23   distributed with the album cover shown in Exhibit 2, which is a print out of
24   Amazon.com’s website for the Season One Soundtrack.
25         5.     Columbia Records recently released and distributed a second album
26   containing select original songs appearing across the first half of Empire’s second
27   season (the “Season Two Soundtrack Volume 1”). The Season Two Soundtrack
28
                                                                  ROSS DECL. ISO MOTION FOR
                                                                        SUMMARY JUDGMENT
                                                                       2:15-CV-02158 PA(FFMX)
      Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 3 of 15 Page ID
                                       #:1275


 I    Volume I is released and distributed with the album cover shown in ldllblt 3,
 2    wblcb is a print out o( Amlzoo.com'a website for 1he SN90G Two Soundlntck
 3    Volume 1.
 ..
 5          I declare under penalty of perjwy that the foregoing is true wt correct..
 6

 1    Executed on December 14, 201s • .a Cbarham., MnNch111eas.

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Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 4 of 15 Page ID
                                 #:1276




                  EXHIBIT 1
Top 200 Albums | Billboard                                             Page 1 of 25
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 5 of 15 Page ID
                                   #:1277




                               BILLBOARD 200
  How it works
                                                 THE WEEK OF

                                         ∠ MARCH 28, 2015 ∠

                                       ARCHIVE
                                       SEARCH    MM/DD/YYYY    GO




  1              Empire: Original Soundtrack From Season 1
                 Soundtrack
New
      ○
                                                     ∠




  2              Rebel Heart
                 Madonna
New
      ○
                                                     ∠

  3
                                             EXHIBIT 1
                                                 3
http://www.billboard.com/charts/billboard-200/2015-03-28                 12/11/2015
Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 6 of 15 Page ID
                                 #:1278




      Pages 2-25 have been intentionally
          omitted per Scheduling Order,
               Dkt. 23 ¶ 5(a) at 4:12-17




                                 EXHIBIT 1
                                    4
Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 7 of 15 Page ID
                                 #:1279




                  EXHIBIT 2
Empire Cast - Original Soundtrack from Season 1 of Empire - Amazon.com Music Page 1 of 7
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 8 of 15 Page ID
                                              #:1280

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 CDs & Vinyl › R&B › Soul


                                                                                                                                                      Share
                                                Original Soundtrack from Season 1 of Empire
                                                Empire Cast       Format: Audio CD
                                                                    574 customer reviews                                                    Buy New                                $8.64
                                                                                                                                             Qty: 1      
                                                  See all 5 formats and editions

                                                                                                                                                         | FREE One-Day
                                                                     MP3           Audio CD
                                                                                                                                            Delivered tomorrow for FREE with
                                                  Streaming          $9.99         $8.64
                                                                                                                                            qualifying orders over $35. Details
                                                                                   17 Used from $3.75
                                                                                   69 New from $6.36                                        In Stock.
                                                                                   1 Collectible from $18.00
                                                                                                                                            Ships from and sold by Amazon.com.
                                                                                                                                            Gift-wrap available.
                                                Arrives before Christmas.
                                                            Includes FREE MP3 version of this album.
                                                            Provided by Amazon Digital Services, Inc.                                           Turn on 1-Click ordering for this browser
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        Click to open expanded view                                                                                                         Want it tomorrow, Dec. 14? Order
                                                Complete your purchase to save the MP3 version to your music library.
                                                                                                                                            within 11 hrs 48 mins and choose
                                                Deluxe CD Version with Bonus Tracks Unavailable                                             Same-Day Delivery at checkout.
                                                                                                                                            Details
                                                There will not be a Deluxe CD version for this album. If you would like to own the
                                                bonus tracks, you must purchase the MP3 Deluxe version.
                                                                                                                                            Ship to:
                                                                                                                                            Molly Lens- LOS ANGELES




                                                                                                                                           Add to List


                                                                                                                                                     Other Sellers on Amazon

 Frequently Bought Together                                                                                                                $9.99                                 Add to Cart


                                                                                                                                           Sold by: steelerfreak
                                                                                      Total price: $30.61
                                                                                                                                            87 used & new from $3.75

                            +                         +                                                                                     Have one to sell?               Sell on Amazon



                                                                                                                                          Arrives before Christmas.
       This item: Original Soundtrack from Season 1 of Empire by Empire Cast Audio CD $8.64
       Original Soundtrack Season 2 Volume 1 by Empire Cast Audio CD $11.98
       25 by Adele Audio CD $9.99




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                                          EXHIBIT 2
                                              5
http://www.amazon.com/Original-Soundtrack-Season-1-Empire/dp/B00TKNQQHO/ref=... 12/13/2015
Empire Cast - Original Soundtrack from Season 1 of Empire - Amazon.com Music Page 2 of 7
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 9 of 15 Page ID
                                              #:1281

            Original Soundtrack               25                                Empire Season 1                    Unbreakable              Woman
            Season 2 Volume 1                 › Adele                           Terrence Howard                    › Janet Jackson          Jill Scott
            Empire Cast                                         2,298                            1,539                                324                  374
                            22                 #1 Best Seller    in Music       DVD                                Audio CD                 Audio CD
            Audio CD                          Audio CD                          $18.03                             $9.99                    $13.29
            $11.98                            $9.99




                                                                                Calling All Lovers (Deluxe
                                                                                Edition)
                                                                                › Tamar Braxton
                                                                                                 191
                                                                                Audio CD
                                                                                $13.96



 Special Offers and Product Promotions
        • Includes FREE MP3 version of this album Here's how (restrictions apply)
        • Save Big On Open-Box & Preowned: Buy "Original Soundtrack from Season 1 of Empire” from Amazon Warehouse Deals and save 17% off
          the $9.98 list price. Product is eligible for Amazon's 30-day returns policy and Prime or FREE Shipping. See all Open-Box & Preowned offers
          from Amazon Warehouse Deals.

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 Editorial Reviews
     Original soundtrack to the hit Fox TV series. Empire is the sexy and powerful drama about the head of a music empire whose three sons and
     ex-wife all battle for his throne. The show stars Terrence Howard, Taraji P. Henson, newcomers Bryshere Grey, and Jussie Smollett.
     Timbaland serves as music supervisor and each episode features new original music. Guest artists with cameos on the show and contributing
     music include Estelle, Courtney Love, Anthony Hamilton, Jennifer Hudson, Mary J. Blige, Snoop Dogg and others.



                          Sample this album



    1     Good Enough (feat. Jussie Smollett)                                                                         3:50                               + Add to Library



    2     What Is Love (feat. V. Bozeman)                                                                             2:53                               + Add to Library



    3     No Apologies (feat. Jussie Smollett, Yazz)                                                                  2:52                               + Add to Library



    4     Keep It Movin' (feat. Serayah McNeill and Yazz)                                                             3:24                               + Add to Library



    5     Walk Out On Me (feat. Courtney Love)                                                                        3:25                               + Add to Library



    6     Conqueror (feat. Estelle and Jussie Smollett)                                                               4:28                               + Add to Library



    7     Remember The Music (feat. Jennifer Hudson)                                                                  3:23                               + Add to Library



    8     Shake Down (feat. Mary J. Blige and Terrence Howard)                                                        3:26                               + Add to Library



    9     Power Of The Empire (feat. Yazz)                                                                            3:17                               + Add to Library



    10    Nothing To Lose (feat. Jussie Smollett)                                                                     2:48                               + Add to Library



    11    Whatever Makes You Happy (feat. Jennifer Hudson and Juicy J)                                                3:15                               + Add to Library



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                                          EXHIBIT 2
                                              6
http://www.amazon.com/Original-Soundtrack-Season-1-Empire/dp/B00TKNQQHO/ref=... 12/13/2015
Empire Cast - Original Soundtrack from Season 1 of Empire - Amazon.com Music Page 3 of 7
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 10 of 15 Page ID
                                              #:1282

 Product Details
   Audio CD (March 10, 2015)
   Number of Discs: 1
   Label: Columbia
   ASIN: B00TKNQQHO
   Average Customer Review:                           (574 customer reviews)
   Amazon Best Sellers Rank: #177 in Music (See Top 100 in Music)
   #3 in Music > Soundtracks > Television Soundtracks
   #7 in Music > R&B > Soul
   #173 in Music > Pop

   Would you like to update product info or give feedback on images?

 Related Video Shorts




                               2:57                             3:42                          3:49                         3:05                          3:50

         Empire Cast - No                Empire Cast - You're So         Empire Cast - Hourglass      Empire Cast - Money For     Empire Cast - Snitch Bitch
         Apologies                       Beautiful                       (feat. V. Bozeman)...        Nothing (feat....           (feat. Terrence...



 Amazon's Empire Cast Store

                     › Visit Amazon's Empire Cast Store
                       for all the music, discussions, and more.




                  Customer Reviews
                                       574
                  4.2 out of 5 stars


                  5 star                        61%        Share your thoughts with other customers
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                  3 star                        15%         Write a customer review
                  2 star                        7%
                  1 star                        5%

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                  Most Helpful Customer Reviews
                  188 of 194 people found the following review helpful
                                  FYI: The CD version only has 11 songs
                  By Grapes McFadden on March 10, 2015
                  Format: Audio CD     Verified Purchase
                  The music is great, of course, but as a heads up, the CD is missing a buuuunch of the songs you
                  would get if you bought the mp3 version. If I had known I wasn't going to get Money for Nothing, Drip
                  Drop, or You're So Beautiful, I would've just bought the mp3s instead.

                  CD Tracklist:
                  1. Good Enough
                  2. What is Love
                  3. No Apologies
                  4. Keep It Movin'
                  5. Walk Out On Me
                  6. Conqueror
                  7. Remember the Music
                  8. Shake Down
                  9. power of the Empire
                  10. Nothing to Lose
                  11. Whatever Makes You Happy

                  10 Comments          Was this review helpful to you?    Yes    No    Report abuse


                  48 of 54 people found the following review helpful
                                  Do it for the music...




                                          EXHIBIT 2
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Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 11 of 15 Page ID
                                  #:1283




        Pages 4-7 have been intentionally
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                                 EXHIBIT 2
                                    8
Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 12 of 15 Page ID
                                  #:1284




                   EXHIBIT 3
Empire Cast - Original Soundtrack Season 2 Volume 1 - Amazon.com Music  Page 1 of 6
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 13 of 15 Page ID
                                              #:1285

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                                                      Original Soundtrack Season 2 Volume 1
                                                      Empire Cast (Artist)         Format: Audio CD
                                                                               22 customer reviews                                                            Buy New                        $11.98
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                                                          See all 3 formats and editions

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                                                          Streaming            $14.99        $11.98                                                     Delivered tomorrow for FREE with
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                                                                                             1 Collectible from $20.00
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                                                      Arrives before Christmas.



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                                                                                             Total price: $30.61

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       This item: Original Soundtrack Season 2 Volume 1 by Empire Cast Audio CD $11.98                                                                         Other Sellers on Amazon
       Original Soundtrack from Season 1 of Empire by Empire Cast Audio CD $8.64
                                                                                                                                                        51 used & new from $7.75
       25 by Adele Audio CD $9.99

                                                                                                                                                        Have one to sell?               Sell on Amazon


 Customers Who Bought This Item Also Bought                                                                                         Page 1 of 21
                                                                                                                                                      Arrives before Christmas.




               Original Soundtrack from              25                                     Empire Season 1
               Season 1 of Empire                    › Adele                                Terrence Howard
               › Empire Cast                                           2,298                                 1,539
                               574                    #1 Best Seller    in Music            DVD
               Audio CD                              Audio CD                               $18.03
               $8.64                                 $9.99




 Special Offers and Product Promotions




                                        EXHIBIT 3
                                           9
http://www.amazon.com/gp/product/B016Z7SUEE?redirect=true&ref_=s9_simh_gw_g1...                                                                                                         12/13/2015
Empire Cast - Original Soundtrack Season 2 Volume 1 - Amazon.com Music  Page 2 of 6
  Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 14 of 15 Page ID
                                              #:1286

        • Thank you for being a Prime member. Earn 5% Back Every Day with the Amazon Prime Store Card. Apply now.


 Editorial Reviews
     From the mega hit FOX show EMPIRE comes 'Empire: Original Soundtrack,Season 1's chart-topping soundtrack. This collection features songs
     from the first half of Season 2 and showcases cast members Jussie Smollett (Jamal Lyon) and Yazz (Hakeem Lyon), alongside Terrence Howard
     (Lucious Lyon) and guest stars Timbaland, Pitbull, Alicia Keys, Bre Z, V. Bozeman and Serayah. The soundtrack was produced by Timbaland, NE-
     YO, J.R. Rotem and Swizz Beatz.

     The soundtrack includes multiple stand-out songs such as the upbeat party track "No Doubt About It," the emotional ballad "Born To Love U," the
     club anthem "Bout 2 Blow," and the duet by Jussie and Alicia Keys "Powerful."

     'Original Soundtrack from Season 1 of Empire' was released in March 2015 and debuted at No. 1 on the Billboard Top 200 chart, making history
     as the first soundtrack to debut atop the Billboard R&B/Hip Hop chart. To date, the soundtrack has sold over 2 million singles and is approaching
     half a million albums. The Lyon brothers brought the music to life performing hits from the soundtrack on the 2015 Billboard Music Awards, The
     Ellen DeGeneres Show, Good Morning America, American Idol, Teen Choice Awards, BET Awards and The View. The 'Original Soundtrack from
     Season 1 of Empire' received its first nomination for "Top Soundtrack" at the 2015 American Music Awards.

                         Sample this album



    1     Born To Love U (feat. Jussie Smollett)                                                                             3:35                                 + Add to Library



    2     Snitch Bitch (feat. Terrence Howard and Petey Pablo)                                                               3:48                                 + Add to Library



    3     Hourglass (feat. V. Bozeman)                                                                                       3:45                                 + Add to Library



    4     Get No Better (2.0) (feat. Serayah)                                                                                2:48                                 + Add to Library



    5     Bout 2 Blow (feat. Yazz and Timbaland)                                                                             3:01                                 + Add to Library



    6     No Doubt About It (feat. Jussie Smollett and Pitbull)                                                              4:45                                 + Add to Library



    7     Ain't About The Money (feat. Jussie Smollett and Yazz)                                                             3:12                                 + Add to Library



    8     Never Love Again (feat. Jussie Smollett)                                                                           4:03                                 + Add to Library



    9     Runnin' (feat. Yazz, Jamila Velazquez, Raquel Castro, and Yani Marin)                                              2:56                                 + Add to Library



    10    Boom Boom Boom Boom (feat. Terrence Howard and Bre-Z)                                                              3:37                                 + Add to Library



    11    Heavy (feat. Jussie Smollett)                                                                                      2:57                                 + Add to Library



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 Product Details
    Audio CD (November 20, 2015)
    Number of Discs: 1
    Label: Columbia
    ASIN: B016Z7SUEE
    Average Customer Review:                                 (22 customer reviews)
    Amazon Best Sellers Rank: #114 in Music (See Top 100 in Music)
    #2 in Music > Soundtracks > Television Soundtracks
     #112 in Music > Pop

     Would you like to update product info or give feedback on images?

 Related Video Shorts                                                                                                                                                           Page 1 of 2




                                     2:57                               3:42                              3:49                           3:05                          3:50

             Empire Cast - No                  Empire Cast - You're So           Empire Cast - Hourglass            Empire Cast - Money For     Empire Cast - Snitch Bitch     Empire
             Apologies                         Beautiful                         (feat. V. Bozeman)...              Nothing (feat....           (feat. Terrence...             (feat. S




                                        EXHIBIT 3
                                           10
http://www.amazon.com/gp/product/B016Z7SUEE?redirect=true&ref_=s9_simh_gw_g1...                                                                                               12/13/2015
Case 2:15-cv-02158-PA-FFM Document 41-10 Filed 12/15/15 Page 15 of 15 Page ID
                                  #:1287




        Pages 3-6 have been intentionally
           omitted per Scheduling Order,
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                                 EXHIBIT 3
                                    11
